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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 REPLY S.P.A.,                             )
                                           )
                     Plaintiff,            )
                                           )
                v.                         )      C.A. No. 19-1524-MN
                                           )
 SENSORIA, INC., SENSORIA HOLDINGS         )
 LTD., DR. DAVIDE VIGANÒ, and              )
 MAURIZIO MACAGNO                          )
                                           )
                     Defendants.           )

           REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                           AND TO AMEND THE CAPTION


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                                         INTRODUCTION1

         Counts I and III of the Complaint should be dismissed pursuant to the forum selection

clause of the Loan Agreements, the doctrine of forum non conveniens and a failure to plead the

unjust enrichment claim apart from the breach of contract claim. Disregarding the Plaintiff’s

attempt to avoid the plain language of the forum selection clause simply reads out the term

“exclusive” and replaces it with a clause that Plaintiff interprets as allowing it to file suit

anywhere. Such a reading ignores the plain and ordinary language of Section 8.2 of the Loan

Agreements. With the existence of a valid and enforceable forum selection clause, Count I

should be dismissed pursuant to the doctrine of forum non conveniens. Plaintiff’s justifications

for keeping Count I in this Court ignore Plaintiff’s past arguments and the nature of their claims.

         Plaintiff is wrong that this District Court does not apply the same standard for unjust

enrichment claims as the Delaware State Courts. Where parties’ relationship is governed by

contract, a claim for unjust enrichment should be dismissed. Count III should be dismissed.

         Finally, Plaintiff has made no showing that Sensoria Holdings, Viganò, and Macagno

should not be dismissed. They are not parties to any claim herein and remain parties in the

pending, but stayed, Washington Court action which retained counts not transferred here.

                                            ARGUMENT

    I.      COUNT I SHOULD BE DISMISSED PURUSANT TO THE FORUM
            SELECTION CLAUSE

         Plaintiff would have the Court incorrectly believe that the Loan Agreements’ forum

selection clause allows it to sue Sensoria anywhere. Such a reading would render the first clause



1
  Capitalized terms have the same meanings ascribed to them in the Complaint or Defendants’
Opening Brief (D.I. 46). References to Defendants Opening Brief in Support of Its Motion to
Dismiss and to Amend the Caption (D.I. 46) appear as “Opening Brief” or “Op. Br.” References
to Plaintiff’s Answering Brief (D.I. 47) appear as “Pl. Br.”
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of Section 8.2 virtually meaningless. To support their interpretation, Plaintiff ignores the plain

language of the Forum Selection Clause and the finding of the Washington Court that the Law

Courts of Turin Italy are the contractually-selected forum for this dispute. At base, the plain

language of Section 8.2 of the Loan Agreements elects an “exclusive jurisdiction” for disputes

“arising from the execution or interpretation” of the Loan Agreements. This simple language

requires that this count be brought in Italy.

       First, Plaintiff’s citations to Italian law in support of its motion are without support or are

not in dispute. As a purportedly bedrock statement of its argument, Plaintiff states that “the

Italian Supreme Court has recognized the validity and enforceability of forum selection clauses

that provide rights to each party, such as Sections 8.2 here.” Pl. Br. at 7 (citing “Cassazione

civile sezioni unite, n. 3624 (Aug. 3, 2012)). But Plaintiff has not attached any exhibit

supporting this cite to foreign authority, as required by local rule. See D. Del. LR 7.1.3(7) (“If an

opinion is cited which is neither reported in the National Reporter System nor available on either

WESTLAW or LEXIS, a copy of such opinion shall be attached to the document which cites it

or shall otherwise be provided to the Court.”). Opinions of the Italian Supreme Court, assuming

that is what was being cited, are written in Italian and no translation has been provided.

Similarly, for the proposition that “all provisions in a contract shall be interpreted together,”

Plaintiff merely cites “Italian Civil Code, § 136.” No exhibit or translation has been provided.

Plaintiff leaves the Court and Defendants to simply guess at what these documents actually say.2

       Although the Loan Agreements are governed by Italian Law (see Op. Br. at 3), Plaintiff



2
  Nevertheless, Defendants do not dispute that with properly drafted language, a forum selection
clause might provide different rights to different parties or that contract terms should be
interpreted together. Indeed, Defendants argued before the Washington Court that the term of
the Forum Selection Clause that Plaintiff desperately cling to should be read in view of the
exclusive jurisdiction clause of Section 8.2. D.I. 28 at 2-3.

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relies on just one case from the United States District of New Jersey to support its interpretation

of the Forum Selection Clause. See Pl. Br. at 9 (citing Networld Commc’ns, Corp. v. Croatia

Airlines, D.D., 2014 WL 4724625 (D.N.J. Sept. 23, 2014). Networld is not helpful to Plaintiff

because the forum selection clause in that case explicitly states that it is non-exclusive. In

Networld, the forum selection clause at issue read: “All disputes arising out of this Agreement

that cannot be resolved by negotiation shall be submitted to the court of competent jurisdiction in

Zagreb, Republic of Croatia, which jurisdiction shall be non-exclusive.” Id. at *3.

Unsurprisingly, the court in Networld found the forum selection clause merely “permissive.” Id.

       That is not the case here. The language of Section 8.2 states that the Law Courts of Turin

are the “exclusive jurisdiction” for “[a]ll disputes arising from the execution or interpretation of

[the Loan Agreements].” Delaware Courts look to the ordinary meaning of unambiguous terms

of a contract. LCY Chem. Corp. v. Kraton Performance Polymers, Inc., 2015 WL 4486783, at *2

(D. Del. July 23, 2015). “Exclusive” has a plainly understood meaning: single, sole. See

EXCLUSIVE | DEFINITION OF EXCLUSIVE BY MERRIAM-WEBSTER, https://www.merriam-

webster.com/dictionary/exclusive (last accessed November 18, 2019). The example provided by

the Merriam-Webster dictionary is “exclusive jurisdiction.” Id. (emphasis in original). In other

words, any disputes arising under the loan agreements are subject to the “single” or “sole”

jurisdiction of the Law Courts of Turin. This is, of course, consistent with Section 8.1 which

mandates that the Loan Agreements are “governed by Italian law.”

       Plaintiff would have the Court believe that “exclusive jurisdiction” only applies to

Sensoria, not to Plaintiff. But the first sentence of Section 8.2 does not say that only disputes

brought by Sensoria are limited to the Law Courts of Turin—it says that “all” disputes arising

from the Loan Agreements are to be brought there. Plaintiff’s interpretation of the clause as a




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whole would render the first sentence of Section 8.2 at best ambiguous because “all” would not

mean all. At worst, it would render terms meaningless, but Delaware law requires that every

word should be given meaning and effect by the Court. NAMA Hedges., LLC v. World Mkt. Ctr.

Venture, LLC, 948 A.2d 411, 419 (Del. Ch. 2007) (“Contractual interpretation operates under the

assumption that the parties never include superfluous verbiage in their agreement, and that each

word should be given meaning and effect by the court.”), aff’d, 945 A.2d 594 (Del. 2008); ITG

Brands, LLC v. Reynolds Am., Inc., 2017 WL 5903355, at *10 (Del. Ch. Nov. 30, 2017) (“The

cardinal rule of contract construction is that, where possible, a court should give effect to all

contract provisions.”) (emphasis in original).

        Plaintiff’s interpretation is simply wrong and does not cast any doubt on the meaning of

8.2. The second clause of Section 8.2 makes no exception to “exclusive jurisdiction.” Rather, it

carves out an exception to allow Plaintiff to bring suit in other specialized Italian courts (i.e.,

judicial authorities) if the relief it sought was not available in the Law Courts of Turin. That

interpretation does not render the first part of Section 8.2 ambiguous or meaningless and is

consistent with the idea that an Italian company, such as Plaintiff, would want to litigate on its

home turf where the judicial authority it would appear before would be most familiar with the

Italian laws that governed the Loan Agreements.3

        While this Court is not ultimately bound by the Washington Court’s conclusions, the

Washington Court took careful steps to conclude that the Loan Agreements’ Forum Selection

Clause “mandates that disputes arising from the Loan Agreements are to be litigated in the Law

Courts of Turin or another specialized Italian Court.” D.I. 34 at 6. The Washington Court


3
 To the extent any ambiguity does exist, such ambiguity should be construed against Plaintiff,
who drafted the relevant term of Section 8.2. See generally Twin City Fire Ins. Co. v. Delaware
Racing Ass'n, 840 A.2d 624, 630 (Del. 2003) (“[A]mbiguities in a contract should be construed
against the drafter.”)

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ordered supplemental briefing on the very specific issue of “How should Section 8.2 be

interpreted generally?” and “How should the second clause of Section 8.2 be interpreted in light

of the first clause of Section 8.2?” D.I. 31 at 1. The parties submitted their supplemental briefs

on this topic before the Washington Court made its decision that this dispute is limited to the

Law Courts of Turin Italy.4 See D.I. 32, 33.

          Plaintiff has presented no reason for this Court to deviate for the reasoning adopted by

the Washington Court. Indeed, adopting Plaintiff’s interpretation of the Section 8.2 would

render “exclusive jurisdiction” for “all disputes” meaningless. The Court should hold that Count

I must be brought in the Law Courts of Turin Italy and grant Defendants’ motion to dismiss.

    II.      THE COURT SHOULD GRANT DISMISSAL OF COUNT I UNDER THE
             DOCTRINE OF FORUM NON CONVENIENS

             A. Defendants Have Carried Their Burden.

          Plaintiff strangely alleges that “Defendants provide no evidence to support their argument

in favor of dismissal on forum non conveniens grounds” despite Defendants showing that the

facts of this case heavily weigh in favor of Count I being dismissed in favor of the Law Courts of

Turin. Plaintiff cites no “evidence” that is missing. And it cannot. Defendants cited Plaintiff’s

own admission Op. Br. at 10 (“Delaware has no tangible connection to the underlying dispute.”),

and the difficulties of litigating a case where both Italian law and Delaware law apply to the

interpretation of two separate contracts (Id. at 10-11).

          Equally strange is Plaintiff’s reliance on the argument that Sensoria’s home forum is



4
  Plaintiff suggests that the Washington Court’s decision should carry little weight because it is
from another federal court by relying on Verance Corp. v. Digimarc Corp., 2011 WL 2182119
(D. Del. June 2, 2011). But Verance concerns the reliance on another district’s opinion in a
wholly unrelated case between different parties. Id. at *6, n. 5. Here, we have the Washington
Court fully addressing the very issue before this Court and reaching a reasoned conclusion
supported by full briefing and analysis.

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 Delaware and the emphasis Plaintiff makes on that point. Each of the four cases Plaintiff relies

 on have nothing to do with a forum selection clause affecting the forum non conveniens analysis.

 Intellectual Ventures I LLC v. Altera Corp., 842 F. Supp. 2d. 744 (D. Del. 2012), Tessera, Inc. v.

 Sony Electronics Inc., 2012 WL 11007706 (D. Del. Mar. 30, 2012), and Wesley-Jessen Corp. v.

 Pilkington Visioncare, Inc., 157 F.R.D. 215, 218 (D. Del. 1993) are all patent infringement cases

 with, obviously, no contract at issue between the parties and certainly no forum selection clause.

 Reavis v. Gulf Oil Corp., 85 F.R.D. 666 (D. Del. 1980) also does not concern a motion to transfer

 related to a forum selection clause. These cases should be given no consideration in this analysis

 because the analysis is fundamentally different when a forum selection clause is at issue.

            B. The Public Interest Factors Favor Dismissal

        Contrary to Plaintiff’s otherwise conclusory analysis, the Public Interest Factors weigh in

 favor of dismissal. Not only does Plaintiff ignore its own statements regarding this lawsuit’s

 lack of ties to Delaware, it ignores the burden on this Court and the parties by having to litigate

 in Delaware when Italian law applies, Plaintiff is a resident of Italy, the individual defendants,

 directors of Sensoria, reside in Washington and Sensoria’s place of business is in Washington.

        Plaintiff now tries to argue that the public interest factors favor trying a case in Delaware

 after arguing to the Washington Court that the case should be tried there and Delaware “has no

 tangible connection to the underlying dispute.” D.I. 27 at 11. Indeed, while Plaintiff now argues

 that “Sensoria is a Delaware citizen,” (Pl. Br. at 14) it previously argued that the case belonged

 in Washington because “all of the Defendants are Washington Residents and are conducting

 business in the state of Washington” and “each of the transactions at issue took place in

 Washington” (D.I. 27 at 11). By Plaintiff’s own words, there is no “local interest” in this matter

 in Delaware. Accordingly, this factor is close to neutral.




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         Plaintiff downplays the burden of applying Italian law in this Court. While this Court is

 certainly capable and experienced at applying the laws of other jurisdictions, the burden on the

 Court to do so weighs in favor of dismissal. In distinguishing Reavis, 85 F.R.D. at 666 (cited by

 Plaintiff, Pl. Br. at 15), another court, relying on Supreme Court and federal Court of Appeals

 precedent, noted that while applying foreign law does not alone compel dismissal, that

 application of foreign law “is nevertheless an important consideration.” Grodinsky v. Fairchild

 Indus., Inc., 507 F. Supp. 1245, 1252 (D. Md. 1981) (citing Gulf Oil Corp. v. Gilbert, 330 U.S.

 501, 509 (1947); Calavo Growers of California v. Generali Belgium, 632 F.2d 963, 967 (2d Cir.

 1980); Schertenleib v. Traum, 589 F.2d 1156, 1163, 1165 (2d Cir. 1978). Here, that important

 consideration clearly weighs in favor of dismissal for the reasons explained in Sensoria’s

 Opening Brief. First, the Court will be tasked with instructing a jury to apply two different sets

 of laws to two different breach of contract claims creating the potential for significant confusion.

 Second, Defendants will be burdened by having to hire experts and translators to inform the

 Court and the jury of the nuances and intricacies of Italian law. These burdens are completely

 avoided if Count I is tried in Italy.

         Plaintiff complains that fragmentation of the claims warrants keeping this case in

 Delaware. But Plaintiff agreed, when executing both the Loan Agreements and the Purchase

 Agreement that the former would be governed by Italian law with disputes heard in Italian courts

 whereas the latter would be governed by Delaware law with disputes heard in Delaware (D.I. 1-

 1, Ex. A, at 23, § 7.1). Further, the Loan Agreement and Purchase Agreement are two separate

 agreements entered into approximately two years apart. Pl. Br. at 3, 4. To claim that having

 such disputes addressed in the forum Plaintiff agreed to is burdensome should be given no

 weight. See Atl. Marine Const. Co. v. U.S. Dist. Court for W.D. Tex., 571 U.S. 49, 64 (2013)




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 (“[w]hen the parties agree to a forum-selection clause, they waive the right to challenge the

 preselected forum as inconvenient or less convenient…”). On this point, it makes no difference

 that Plaintiff alleges it could have filed anywhere, Plaintiff knew disputes regarding the Loan

 Agreements have to be filed by Sensoria in Italy and disputes under the Purchase Agreement

 have to be filed in Delaware. This is exactly what Plaintiff, a sophisticated party in the business

 of providing specialized services to other businesses (Compl. at ¶ 1), bargained for.

         Plaintiff’s allegation that the Italian court will have to apply Delaware law to the claim

 set forth in Count III is misleading. See Pl. Br. at 15. The Loan Agreements are governed by

 Italian law. As explained in Defendants’ Opening Brief and in Section III below, Count III is

 merely a recitation of Plaintiff’s breach of contract claim under Count I reframed as an unjust

 enrichment claim. Accordingly, the unjust enrichment claim should either be decided under

 Italian law by an Italian court, rendering Plaintiff’s claims of difficulty trying the case in Italy

 hollow, or, in the unlikely circumstance that the unjust enrichment claim will be analyzed under

 Delaware law, such claim should be dismissed as duplicative of Count I pursuant to Delaware

 law as discussed in Defendants’ Opening Brief and in Section III below.5 Either way, the Italian

 court will not have to apply Delaware law.

         Finally, none of the interested parties actually reside in Delaware. Viganò and Macagno,

 who should be dismissed regardless, are directors of Sensoria and will likely be the subject of

 discovery in this litigation and both reside in Washington where Sensoria has its principal place

 of business. Plaintiff has its principal place of business in Italy. Dismissing Count I in favor of

 Plaintiff refiling in Italy will create no additional burden on the parties as Defendants will have



 5
   Plaintiff appears unsure which law will apply to Count III. In the very same paragraph that it
 argues Delaware law will apply, Plaintiff relies without dispute on Sensoria’s statement that
 Italian law applies to Counts I and III to allegedly support its argument. See Pl. Br. at 14-15.

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 to travel no matter what. Plaintiff, on the other hand, will be able to litigate in its home forum as

 it agreed to in the Loan Agreements.

    III.      THE UNJUST ENRICHMENT CLAIM (COUNT III) ONLY RELATES TO
              THE LOAN AGREEMENTS AND SHOULD BE DISMISSED.

           Plaintiff incorrectly argues that the cases which prohibit pleading both the breach of

 contract and unjust enrichment claim where the contract already governs the relationship

 between the parties only apply in Delaware State Courts. This District Court has previously

 relied on and applied that rule to dismiss an unjust enrichment claim for failing as a matter of law

 where a valid, enforceable contract governs the parties’ relationship yet also forms the basis for

 the unjust enrichment claim. Air Prod. & Chemicals, Inc. v. Wiesemann, 237 F. Supp. 3d 192,

 216 (D. Del. 2017) (dismissing unjust enrichment claim with reliance on Delaware State Court

 cases for the proposition that “Delaware courts ... have consistently refused to permit a claim for

 unjust enrichment when the alleged wrong arises from a relationship governed by contract.”)

 (citations omitted). Here, there is no doubt that the unjust enrichment claim is only directed to

 the claims for breach of the Loan Agreements.

           There are only eight paragraphs in Count III. Paragraph 67 is a boilerplate incorporation

 of the previous paragraphs of the Complaint. Paragraph 68 alleges that Plaintiff loaned Sensoria

 the Loan Amount. Paragraph 69 alleges that Sensoria accepted the Loan Amount. Paragraph 70

 alleges that Sensoria did not repay the Loan Amount. Paragraph 71 alleges that Plaintiff sent

 demand letters regarding the loan. Paragraphs 72 and 74 state that the Loan Amount and the

 damages to Plaintiff are the same—230,000€ (EUR) and $1,075,000 (USD). There is no dispute

 that Count III only concerns the Loan Agreements and Sensoria’s alleged failure to repay the

 Loan Amount. With the Loan Agreement completely governing the parties’ relationship as to

 the alleged damages in Count III, Count III should be dismissed.



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          Plaintiff also suggests that Count III is pled in the alternative to both Counts I and II. But

 the plain language of the Complaint belies this assertion. Although Count III is sub-titled “In the

 alternative to Counts I and II,” there is no allegation in Count III that relates to Count II. There

 is no reference to the Purchase Agreement which forms the basis of Count II (Compl. at ¶ 60),

 the License Agreement or alleged transfer of intellectual property (Compl. at ¶ 61), or the alleged

 decrease in value of Sensoria’s shares (Compl. at ¶ 65). Having not plead any of these elements

 to support its claim for unjust enrichment, Plaintiff’s assertion that Count III is also in the

 alternative to Count II is baseless. Count III should be dismissed for the reasons stated above.

    IV.      SENSORIA HOLDINGS, VIGANÒ AND MACAGNO ARE NOT PARTIES

          Plaintiff addresses the motion to dismiss Defendants Sensoria Holdings, Viganò, and

 Macagno in just two sentences in the introduction of its brief. Plaintiff argues that because the

 case will be transferred back to Washington, there is no reason to dismiss the individual

 defendants. Plaintiff is factually incorrect. The Washington Court’s order transferred only

 Counts I, II and III to this District. D.I. 34 at 15. The Washington Court stayed the remainder of

 the lawsuit pending the resolution of Counts I, II and III in Delaware or Italy and instructed the

 parties to notify the Washington Court when Counts I, II and III are resolved. Id. Accordingly,

 no count involving Sensoria Holdings or the individual defendants is pending in this District, and

 no transfer will take place after the Court has resolved Counts I, II and III. Sensoria Holdings,

 Viganò and Macagno should be dismissed from this case and the caption amended.

                                            CONCLUSION

          For the forgoing reasons, and the reasons presented in Defendants’ Opening Brief, the

 Court should dismiss Counts I and III of the Complaint in their entirety without leave to amend

 and amend the caption to remove Sensoria Holdings, Viganò, and Macagno.




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